
ORDER
Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel,
IT IS ORDERED that respondent, Robin A. Nesbitt, Louisiana Bar Roll number 14261, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
/s/ Jeannette Theriot Knoll Justice, Supreme Court of Louisiana
CALOGERO, C.J., would request an opposition.
WEIMER, J., would request an opposition.
